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                                  ATTACHMENTI L ED
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                               COMPLAINTRWRINI,,.
                       (for filers who are prisoners Wiihout lawyers)

                    IN THE UNITED STATES DISTRICT COURT
            FOR THE               DISTRICT OF


(Full name of plaintiff(s))

  Thrictvl

   E- w Ani-o
  B
       vs                                                       Case Number:
                                                                 19 CV 606 BBC
(Full name of defendant(s))
                                                                (to be supplied by clerk of court)
   L AC rtoiss_
                                            4.4
  C




A. PARTIES

       1.      Plaintiff is a citizen of   0 1.5CornS/.4                           , and is located at
                                                  (State)

                   '2 33 \Awe sr
                                      (Address of prison or jail)

       (If more than one plaintiff is filing, use another piece of paper).



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        2.      Defendant        afr          E AA), b
                                                                                    (Name)

is (if a person or private corporation) a citizen of              04 C/Al
                                                                       '
                                                                            (State, if known)
and (if a person) resides at       33        \/,'ne sr
                                                                         (Address, if known)
and (if the defendant harmed you while doing the defendant's job)

worked for LAC-n-65SC St‘G-r--;FF              ‘DeloA4m6,11--
                                                  (Employer's name and address, if known)

        (If you need to list more defendants, use another piece of paper.)

B.      STATEMENT OF CLAIM

        On the space provided on the following pages, tell:
              Who violated your rights;
              What each defendant did;
              When they did it;
              Where it happened; and
              Why they did it, if you know.

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C.   JURISDICTION


             I am suing for a violation of federal law under 28 U.S.C. § 1331.
                                   OR

          I am suing under state law. The state citizenship of the plaintiff(s) is (are)
          different from the state citizenship of every defendant, and the amount of
          money at stake in,this case (not counting interest and costs) is
          $ S'00>000 isr
             4-   ,    L
                                   _
D.   RELIEF WANTED

     Describe what you want the court to do if you win your lawsuit. Examples may
     include an award of money or an order telling defendants to do something or
     stop doing something.

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E.   JURY DEMAND


           Jury Demand - I want a jury to hear my case
                           OR

            Court Trial - I want a judge to hear my case


           Dated this   al        day of     1..) (y                20   V')
                   Respectfully Submitted,



                   Signature of Plaintiff

                        (.1o.7 —04c17
                  Plaintiff's Prisoner ID Number


                      ,t                    o SC, St--
                      LA-Citoss€, or_sath‘sipv r1601
                   (Mailing Address of Plaintiff)

                   (If more than one plaintiff, use another piece of paper).

REQUEST TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING THE
FILING FEE

     I DO request that I be allowed to file this complaint without paying the filing
     fee. I have completed a request to proceed in the district court without
     prepaying the fee and attached it to the complaint.

     I DO NOT request that I be allowed to file this complaint without prepaying the
     filing fee under 28 U.S.C. § 1915, and I have included the full filing fee with this
     complaint.




                             Attachment One (Complaint) —5
